IN THE UNITED sTATEs DISTRICT CoURT
FoR THE NoRTHERN DIsTRICT oF TEXAs

   

FoRT woRrH DIvIsioN ` § § w
UNITED sTATEs oF AMERICA
v. No. 4;18-MJ-288 ,, __, a “

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cHALEE DELAINE cAMPBELL (02)
THoMAs EDWARD CoDY (03) §
TERRY GLENN MCCoNATHY (05) , l §
REBECCA DYANN MULLINS (06) §
cHRIsTAL ANN wALKER (07) l

 

 

GOVERNMENT’S MOTION FOR PRETRIAL DETENTION
The United States moves for pretrial detention of the defendant pursuant to 18 U.S.C. §§ 3142(e) and (f`).

1. Eligibility of Case: This case is eligible for a detention order because the case involves:

Crime ofviolence [18 U.S.C. § 3156]

Maximum sentence of LIFE imprisonment or death

Controlled Substance offense punishable by 10 or more years

Felony with 2 prior convictions in above categories

Felony involving a minor victim

Felony involving the possession or use of a firearm, destructive device, or other dangerous weapon
Felony involving a failure to register under 18 U.S.C. § 2250

Serious risk that the Defendant will flee

Serious risk that Defendant will obstruct justice

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2. Reason for Detention. The Court should detain the Defendant because there are no conditions of release which
Would reasonably assure:
lg Defendant's appearance as required IX The safety of the community § The safety of another person

3. The United States will invoke the rebuttable presumption against the Defendant because: there is probable cause to
believe that the Defendant has committed:

g A Controlled Substance Offense punishable by 10 or more years imprisonment

I:l A firearms offense under Title 18, United States Code, Section 924(c) `

l:l A federal crime of terrorism punishable by 10 or more years imprisonment

l:l A Felony -listed in 18 U.S.C. § 3142(e) - involving a minor victim

l:l A Felony involving a failure to register under 18 U.S.C. § 2250

I:I The Defendant has previously been convicted of an offense described in 18 USC § 3142(f)(1) which was committed
while the Defendant was released on bond pending trial for any offense and less than 5 years have elapsed since the
latter of the defendant’s conviction or date of release from imprisonment for such conviction.
4. Time for Detention Hearing. The United States requests the Court to conduct the detention hearing

l___l at the Defendant's first appearance g After a continuance of 1 days.

Respectfu Submitted,

 

 

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ssistant United States Attomey

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v cERTIFIcATE oF sERvICE

 

I certify that a true and correct copy of the above pleading was o this ay ic ed upon the Defendant or his counsel of
record in accordance with the provisions of Rule 49 of the Federal Rules o 'n nal P ocedure. '

 

 

 

DATE; May 30, 2018

 

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Assistant United States Attorney

